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   12                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
   13

   14   Ms. L., et al.,                                     Case No. 18-cv-00428-DMS-MDD
   15                         Petitioner-Plaintiff,
        v.
   16                                                       Date Filed: July 25, 2018
        U.S. Immigration and Customs Enforcement
   17   (“ICE”), et al.,
   18                                                       PLAINTIFFS’ REPLY IN
                            Respondents-Defendants.         SUPPORT OF MOTION FOR
   19                                                       STAY OF REMOVAL
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    1                                    INTRODUCTION
    2           Defendants are seeking to deport Class Members and their children
    3   immediately upon reunifying them. In their months of separation, these parents
    4   have not spoken to their children for more than several minutes on the phone; many
    5   if not most have never spoken to a lawyer. And yet within moments of seeing their
    6   kids for the first time, Defendants propose to put them on planes, with no
    7   meaningful opportunity to receive legal advice and make a considered family
    8   decision about whether their children should remain in the United States without
    9   them.
   10           That remarkable proposal is inconsistent with the Court’s order that parents
   11   make knowing and voluntary decisions about reunification. In designing the
   12   election form that this Court approved, Plaintiffs never imagined that Defendants
   13   would force Class Members to sign it and then deport them before they have a
   14   meaningful in-person opportunity to consult with their children and attorneys. And
   15   during settlement discussions, Defendants only offered, at best, 2.5 days to
   16   consult—an impossible demand, especially given the constraints on attorney access
   17   and the unprecedented task of advising hundreds of traumatized families all at once.
   18           Defendants asserted at yesterday’s status conference that Plaintiffs’ requested
   19   relief was based solely on “rumors” of possible removals. To the contrary, prior to
   20   requesting relief from this Court, Plaintiffs’ counsel sought assurances from
   21   Defendants that they would not remove reunified Class Members before they had a
   22   meaningful chance for counseling about their legal rights and options—assurances
   23   which Defendants refused to provide. Even at yesterday’s status conference,
   24   counsel for Defendants did not deny that the Government intended to remove
   25   families immediately upon reunification. More importantly, on the afternoon before
   26   Plaintiffs sought a stay, the Government finally revealed its plan to reunite children
   27   5-17 years old, which suggested that Defendants intended to immediately remove
   28   reunified families. Dkt. 109-1. If Defendants do not plan on removing families, they
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    1   should say so. In short, Plaintiffs had no choice but to seek a stay from the Court.1
    2            As described below, the need for this Court’s intervention has only become
    3   more clear since Plaintiffs filed their motion. The Court should therefore stay
    4   removals until Class Members have had sufficient time to consult about what might
    5   be the most consequential decision of their lives. No statute bars the Court from
    6   issuing this modest relief to ensure the effectiveness of its reunification order.
    7            The Government took children, including babies, from their parents and did
    8   not return them for weeks and often many months. As the Court has noted, Ms. C.’s
    9   child was not returned for 8 months. And she was not alone. The Government
   10   should not now be able to argue that it cannot wait a mere 7 days to remove these
   11   families, so that they can be advised on their life-altering decisions.
   12       I.      Settlement Discussions.
   13            Defendants have chosen to inform the Court about the contents of the parties’
   14   negotiations. Because negotiations have broken down, Plaintiffs will not dwell on
   15   the details of the negotiations, other than to correct a few misrepresentations by
   16   Defendants. Most importantly, Defendants misstate the number of days for which
   17   they agreed to a stay of removal. As an initial matter, Plaintiffs made clear that
   18   Defendants could not begin counting the days from when reunification occurred,
   19   since the Government has not been informing Plaintiffs when those reunifications
   20   occur. As a result, Plaintiffs would not know when or where to send volunteer
   21   attorneys to meet with the family. Consequently, Plaintiffs made clear that the
   22   number of days could not begin until the Government had informed Plaintiffs of the
   23   time and place where a family was reunified. The Government states that it agreed
   24
   25   1
          Defendants’ most recent class list reveals that Defendants removed one Class
   26   Member on July 17—the day after the Court’s interim stay of removal—and 17
        more the same day as the stay, on July 16. Defendants have not informed Plaintiffs
   27   of the exact time of day when those 17 were removed, so it is impossible at this
   28   point for Plaintiffs to know if the removals occurred prior to the issuance of the
        stay.                                      2                                 18cv0428
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    1   to 3 days after it provided Plaintiffs with notice of the reunification. While 3 days is
    2   not nearly sufficient, Defendants’ proposal did not even provide that. As the
    3   Government knows, it stated that it would not provide Plaintiffs with notification
    4   until 2pm Central time, leaving reunited families at best 2.5 days to find and consult
    5   with attorneys. And even that assumes that Plaintiffs’ counsel could get volunteer
    6   attorneys to meet parents immediately after receiving notice at 2pm, which as
    7   explained below is wholly unrealistic.2
    8       II.      A Seven-Day Stay of Removals Is Urgently Needed.
    9             Class Members with final removal orders have had no opportunity to make
   10   an informed decision about whether to fight their own removal case, leave their
   11   children behind in the United States, or make some other decision. The limited
   12   phone contact Plaintiffs had with their children before reunification did not provide
   13   them with a meaningful opportunity to assess these options as a family. Nor was the
   14   election form adequate to serve this purpose, particularly given the way the forms
   15   have been administered. As the attached declarations demonstrate, parents plainly
   16   had no idea what they were signing or agreeing to orally.
   17             Moreover, the evidence shows that, after initial reunification has occurred,
   18   providing meaningful counsel to Class Members about the decisions they must
   19   make will take time. This is particularly so given that hundreds of traumatized
   20   families may show up within a few days at one detention center in South Texas, and
   21   given the unique obstacles counsel face in advising recently-reunified families.
   22   Seven days is thus more than reasonable, especially given the length of time that
   23   the government has subjected the families to separation.
   24
   25   2
         In addition, contrary to Defendants’ assertion, they never agreed to allow attorney
   26   consultations past 8pm. They stated only that they would inquire about extending
        the hours. Similarly, Defendants never agreed to allow Plaintiffs full access to the
   27   Karnes detention facility to conduct attorney-client meetings. Rather, when
   28   negotiations ended, they had agreed only to allow Plaintiffs to use the 5 attorney
        rooms (which, in total, accommodate only3 5 attorney-client meetings at a time).
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    1         A. Class Members Cannot Make Knowing and Informed Decisions
    2            Concerning Reunification Before Seeing Their Children.
    3         1. The Pre-Reunification Process Was Inadequate. Defendants claim that a
    4   48-hour period after Class Members sign an election—but before reunification—is
    5   “adequate time to make a sound choice” regarding their reunification rights. Stay
    6   Opp., Dkt. 148, at 12. But Plaintiffs never contemplated that Defendants would
    7   force Class Members to make this momentous decision concerning whether to be
    8   removed without their children before even seeing their children. The opportunity
    9   for a brief phone call between parents and their children—to the extent that such
   10   communication has even happened—is wholly inadequate. For the government to
   11   suggest otherwise (Stay Opp. 13-14) is especially unrealistic given the evidence of
   12   the trauma that Class Members continue to experience as a result of the weeks or
   13   months of pain and uncertainty without their children See, e.g., Reichlin-Melnick
   14   Decl. ¶ 9 (father breaking down in tears as he described son’s circumstances,
   15   despairing that he did not even know if his child was safe or healthy); Dkt. 13-1 at
   16   96 (Ms. L. describing her depression and inability to sleep or eat).
   17         These problems are exacerbated by the coercive and misleading manner in
   18   which Defendants distributed the notice of Class Members’ rights and election
   19   forms. As illustrated in the attached declarations, the evidence is overwhelming that
   20   parents have signed forms they did not understand. Some forms were presented in
   21   English to parents who did not speak that language. Shepherd Decl. ¶ 6; Reive
   22   Decl. ¶ 5; Reichlin-Melnick Decl. ¶ 11; see also Reive Decl. ¶ 11. Some parents
   23   with limited or no literacy were not told what they were signing. Suchman Decl. ¶
   24   6; Reive Decl. ¶ 10; Mwalimu Decl. ¶ 6. Still others thought they had signed papers
   25   stating that they wanted reunification. Reichlin-Melnick Decl. ¶ 4. Parents who
   26   speak an indigenous language were at a particular disadvantage.
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    1         There are numerous examples:
    2       Class Members describe being forced to make an election in a room full of
    3         dozens of other parents, with only a few minutes to decide whether or not to
    4         leave their children in the United States. Cruz Decl. ¶¶ 6-9; Shepherd Decl. ¶
    5         8.
    6       One father signed a form in English, but had no idea what it said because he
    7         is completely illiterate and primarily speaks an indigenous language.
    8         Reichlin-Melnick Decl. ¶ 8.
    9       Another father, also an indigenous language speaker, thought he was signing
   10         a form that would allow him to be reunited with his son. Reive Decl. ¶ 9.
   11       Class Members were given incorrect information that their right to reunite
   12         was conditioned on giving up their legal claims. Shepherd Decl. ¶ 8-9.
   13       Two fathers thought they were signing a form that would allow the
   14         government to release their children; one of these fathers burst into tears
   15         repeatedly out of fear for his son and said he had signed the form under
   16         enormous stress and confusion. Reichlin-Melnick Decl. ¶ 10.
   17       One mother was told that signing a form would lead to her reunification with
   18         her son, and was surprised to learn that she had allegedly signed away her
   19         right to reunification. Mwalimu Decl. ¶ 5.
   20       An immigration officer told one father that he would need to pay at least
   21         $500 every time he wanted to see an attorney. Shepherd Decl. ¶ 11.
   22         Given these circumstances, it should come as no surprise that numerous
   23   Class Members who are on Defendants’ list of parents who waived reunification in
   24   fact do want their kids back. See, e.g., Suchman Decl. ¶ 5 (six parents on
   25   “relinquished” list, all want to be reunited with children); Reive Decl. ¶ 3 (nine
   26   fathers on “relinquished” list all want reunification with their children); Cruz Decl.
   27   ¶ 4 (five fathers on “relinquished” list want reunification); Mwalimu Decl., ¶ 4 (two
   28   mothers on “relinquished” list want reunification); Reichlin-Melnick Decl. ¶ 8-11
                                                   5                                  18cv0428
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    1   (four fathers who allegedly waived reunification did not realize they had done so or
    2   are afraid they made the wrong decision because of lack of information); Gomez
    3   Amaya Decl. ¶ 14, Gilliam Decl. ¶ 5-6 (father on “relinquished” list, does not have
    4   a final order, wants reunification).
    5         2. Phone Contact With Children. Defendants assert that Class Members have
    6   had sufficient contact with their children by telephone. Stay Opp. at 13-14. But the
    7   evidence shows that Class Members have barely had any time to speak with their
    8   children during the months they have now spent apart. Most have spoken only
    9   briefly by phone once or twice. See Fluharty Decl. ¶ 21; Reive Decl. ¶ 6, 9, 10;
   10   Reichlin-Melnick Decl. ¶ 9, 11; Cruz Decl. ¶ 8; 13; Suchman Decl. ¶ 5. And some
   11   of these phone calls occurred weeks or even months ago. See Cruz Decl. ¶ 13;
   12   Reichlin-Melnick Decl. ¶ 9.
   13         These phone calls allow barely enough time for parents to get basic
   14   reassurance that their children are alive and cared for. They are wholly insufficient
   15   to allow the parent and child a meaningful opportunity to speak with each other
   16   about the grave decision they must make together. And, in any event, they do not
   17   allow parents to consult with any attorney for their children, leaving their
   18   children—in the several minutes they have on the phone—with the impossible task
   19   of accurately explaining their own legal options to their parent. That is obviously
   20   not sufficient to allow parents to make an informed decision about whether their
   21   children should stay behind in the United States alone.
   22         3. Counsel Access. Defendants’ counsel access policies have impeded Class
   23   Members from speaking with lawyers prior to reunification. Many Class Members
   24   have been transferred from facility to facility, sometimes three or four times. See
   25   Reichlin-Melnick Decl. ¶ 6 (sudden transfers prevented counsel from meeting with
   26   eight parents who had allegedly waived reunification rights); Odom Decl. ¶ 7-12;
   27   Govindaiah Decl. ¶ 17; Lunn Decl. ¶ 11. Often these transfers occur with no notice
   28   to counsel present at the facilities who are trying to meet with the detainees. Odom
                                                   6                                   18cv0428
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    1   Decl. ¶ 11-12, 21.
    2         Even basic phone access has been a problem, preventing detainees from
    3   speaking with lawyers. Odom Decl. ¶ 14-15; Rivera Decl. ¶¶ 3-8; Chavla Decl. ¶12.
    4   ICE facilities also impose strict visitation policies and long waits for attorney
    5   access. See Odom Decl. ¶¶ 7-11, 17, 21, 25-27; Reichlin-Melnick Decl. ¶ 6; Gomez
    6   Amaya Decl. ¶ 13; Suchman Decl. ¶ 5.
    7         Defendants themselves impeded efforts to get attorneys for Class Members
    8   by delaying critical information. Plaintiffs repeatedly asked Defendants to provide a
    9   complete list of Class Members who had outstanding removal orders, as well as a
   10   list of parents who have allegedly waived reunification, since those groups are
   11   obviously at the gravest risk of imminent harm. Defendants waited until Friday,
   12   July 20 to provide these lists, preventing Plaintiffs from beginning to arrange
   13   counsel for Class Members until the weekend of July 21. See JSR, Dkt. 146, at 3.
   14         B. After Reunification, Lawyers Need Time to Counsel Parents and
   15         Children Effectively.
   16         Plaintiffs have requested a 7-day stay from the time they are notified of a
   17   reunification. That time is necessary because of the unique challenges presented by
   18   Defendants’ separation policy. To begin, the reunification itself is an incredibly
   19   emotional and difficult experience. Parents are seeing their children for the first
   20   time in weeks or even months. Sometimes initial meetings are too difficult because
   21   the parents are too traumatized to even receive basic advisals. See Govindaiah Decl.
   22   ¶¶ 29-30; Connell Decl. ¶ 10; Fluharty Decl. ¶ 19. Other parents cannot focus on
   23   legal advice because they cannot move past their fear of separation; one parent
   24   responded to every statement by asking whether he could stay with his son.
   25   Govindaiah Decl. ¶ 29. Parents and children do not want to leave each others’ sides,
   26   which can hinder their parents’ ability to discuss persecution or other events that
   27   could support asylum claims. Govindaiah Decl. ¶ 25; Fluharty Decl. ¶ 23.
   28         Even if a lawyer could assuage these emotional barriers, other practical
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    1   barriers make these cases unusually difficult. Most families who come to family
    2   detention facilities have all their proceedings conducted in that facility, which
    3   makes it relatively simple for counsel to track their clients’ cases. Connell Decl. ¶
    4   7-9. In contrast, the Class Members here have frequently been moved from facility
    5   to facility, and have started their immigration cases hundreds or thousands of miles
    6   away. They often come without paperwork about their immigration cases. Fluharty
    7   Decl. ¶¶ 11-13; Govindaiah Decl. ¶ 15. And so they often do not know the status of
    8   their immigration cases, which their lawyers must then investigate. Fluharty Decl. ¶
    9   11; Govindaiah Decl. ¶¶ 14, 18. Critically, moreover, the children’s immigration
   10   cases have proceeded in a separate track this whole time. Effectively advising the
   11   entire family therefore requires retracing not only the parent’s case, but also the
   12   child’s. Connell Decl. ¶ 7. Advising families about all of this takes significant time.
   13   Govindaiah Decl. ¶¶ 21-22.
   14         Moreover, Defendants’ counsel access policies make it difficult to do group
   15   presentations or meet with numerous clients at once. Connell Decl. ¶¶ 21-22. At
   16   Karnes, there are only five confidential meeting rooms, only four of which have
   17   phones. Space constraints prevent more than about 17 lawyers from meeting with
   18   clients at any given time. Govindaiah Decl. ¶ 37. Counsel at Defendants’ family
   19   detention facilities do not receive advance notice of arrivals, so it can take days to
   20   connect with services. Connell Decl. ¶ 20; see also Fluharty Decl. ¶¶ 4-7.
   21         Compounding the difficulty of each individual case is the sheer scale at
   22   which these services will have to be provided. The Government’s most recent status
   23   report indicates that there are hundreds of Class Members with removal orders who
   24   may be reunited at Karnes in the coming days. The facility has never had to absorb
   25   such an influx of uniquely complicated cases. It will take time for providers on the
   26   ground to provide even basic advice to these families. See Govindaiah Decl. ¶ 45;
   27   Fluharty Decl. ¶ 23.
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    1      III.   The Stay Should Extend to All Class Members, Including Those Who
    2             Allegedly Have Waived Reunification.
    3         Defendants propose carving out of the stay any parents who Defendants
    4   claim have made a knowing choice not to be reunified with their children. But the
    5   point of the stay is that parents cannot be forced to make that complex and
    6   consequential election before they see their children and speak to an attorney.
    7   Nothing in Plaintiffs’ opening brief carved out these Class Members. And as the
    8   declarations make clear, many of the parents on Defendants’ waiver list in fact do
    9   want their children back and did not remotely understand their rights. As already
   10   discussed above, numerous Class Members report being rushed to sign the election
   11   form before reunification, with no legal advice, no time to think, and sometimes
   12   without translation. Not surprisingly, therefore, many parents whom Defendants list
   13   as knowingly waiving reunification in fact want the opposite: to be reunited with
   14   their children. See Reichlin-Melnick Decl. ¶¶ 4-11; Reive Decl. ¶¶ 4-14; Cruz Decl.
   15   ¶¶ 4-6, 12-14; Mwalimu Decl. ¶¶ 4-6; Gomez Amaya Decl. ¶¶ 7, 14; Suchman
   16   Decl. ¶¶ 4-9; Shepherd Decl. ¶¶ 4, 8, 10. Indeed, many are not even aware that they
   17   signed a form relinquishing their right to reunification. And still others supposedly
   18   knowingly waived reunification even though they do not have removal orders, and
   19   therefore would be reunified and released with their child under the Government’s
   20   published reunification procedures. See Dkt. 109-1, at 3, ¶ P.
   21      IV.    The Court Has Jurisdiction to Stay Removals.
   22         Defendants do not address this Court’s clear equitable authority to ensure
   23   that its orders are properly effectuated. And none of the statutes Defendants invoke
   24   affects the Court’s inherent power to enforce its own orders. See Scholars Amicus
   25   Brief in Support of Stay.
   26         A. The Court Has Equitable Power to Enforce Its Orders.
   27         The government nowhere addresses the fundamental principle that federal
   28   courts have inherent power to issue all relief necessary to render their orders
                                                   9                                  18cv0428
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    1   effective. See Stay Mot. at 7. The broad discretion of the district courts to provide a
    2   remedy for constitutional wrongs is well-recognized. See Lemon v. Kurtzman, 411
    3   U.S. 192 (1973) (“In shaping equity decrees, the trial court is vested with broad
    4   discretionary power. . . . Moreover, in constitutional adjudication as elsewhere,
    5   equitable remedies are a special blend of what is necessary, what is fair, and what is
    6   workable.”); Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 14 (1971)
    7   (“Once a right and a violation have been shown, the scope of a district court's
    8   equitable powers to remedy past wrongs is broad, for breadth and flexibility are
    9   inherent in equitable remedies.”); Orantes-Hernandez v. Thornburgh, 919 F.2d 549,
   10   558 (9th Cir. 1990) (“Once plaintiffs establish they are entitled to injunctive relief,
   11   the district court has broad discretion to fashion a remedy.”). And courts have
   12   particularly broad inherent authority “to ensure obedience to their orders.” F.J.
   13   Henshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128, 1136 (9th Cir.
   14   2001) (citing Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991)); see Travelhost,
   15   Inc. v. Blandford, 68 F.3d 958, 961 (5th Cir. 1995) (“Courts possess the inherent
   16   authority to enforce their own injunctive decrees.”).
   17         Because this power is so central to the judiciary’s inherent authority,
   18   Congress must issue an especially clear statement if it seeks to limit this power.
   19   See, e.g., Plata v. Schwarzenegger, 603 F.3d 1088, 1093-94 (9th Cir. 2010)
   20   (recognizing the government’s “high burden” to show that Congress restrained
   21   courts’ traditional equitable powers); Stay Mot. at 9-10. Here, the Government
   22   cannot come close to making the necessary showing to strip this Court of its
   23   inherent powers to ensure that its injunction is properly implemented.
   24         B. The Provisions Defendants Cite Do Not Strip This Court of Power to
   25             Enforce Its Order.
   26         None of the statutory provisions Defendants invoke remotely contains the
   27   necessary clear statement to strip this Court of its historic power to enforce its
   28   injunction.
                                                   10                                   18cv0428
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    1         1. Section 1252(a)(2)(A)(i). The Government contends that 8 U.S.C. §
    2   1252(a)(2)(A)(i) divests this Court of jurisdiction to grant a short stay of removal
    3   for Class Members with expedited removal orders. Stay Opp. at 18-20. But this
    4   provision, like the other provisions on which the Government relies, concerns cases
    5   involving a challenge to an order of removal. Indeed, the provisions on which the
    6   Government relies all appear in § 1252 of the Immigration and Nationality Act,
    7   which is entitled “Judicial Review of Orders of Removal.”
    8         The text of § 1252(a)(2)(A)(i) bars review only over a “cause or claim arising
    9   from or relating to the implementation or operation of an [expedited removal]
   10   order.” But Plaintiffs’ claims for relief are based on their constitutional right to
   11   reunification with their children; in this motion, Plaintiffs have not brought a “cause
   12   or claim” attacking their removal orders. The Court is simply being asked to use its
   13   standard equitable powers to enforce a previously-issued injunction.3
   14         The Government cites a handful of expedited removal cases. See Stay Opp. at
   15   19-20 (citing Garcia de Rincon v. DHS, 539 F.3d 1133, 1140 (9th Cir. 2008);
   16   Avendano-Ramirez v. Ashcroft, 365 F.3d 813, 818 (9th Cir. 2004); Pena v. Lynch,
   17   815 F.3d 452, 455 (9th Cir. 2015)). But, unlike the instant request for relief, these
   18   cases all involved challenges to the expedited removal order itself.
   19         The far more analogous case is Kwai Fun Wong v. United States, 373 F.3d
   20   952 (9th Cir. 2004), where the plaintiff was not bringing a “challenge to her
   21   expedited removal.” Id at 965. The Ninth Circuit held that, as a result, none of the
   22   3
          Defendants rely on dicta from Aguilar v. ICE, 510 F.3d 1 (1st Cir. 2007), to
   23   support a sweeping interpretation of “relating to” in § 1252(a)(2)(A)(i). Dkt. 148 at
   24   19-20. But Aguilar did not even involve § 1252(a)(2)(A)(i), and actually found
        jurisdiction over the plaintiffs’ substantive due process claims. In any event, the
   25   Supreme Court has cautioned that the words “relating to” would “stop nowhere” if
   26   they “extended to the furthest reach of their indeterminacy,” and that “context . . .
        may tug in favor of a narrower reading.” Mellouli v. Lynch, 135 S. Ct. 1980, 1990
   27   (2015) (alterations omitted). In light of the courts’ longstanding power to grant
   28   relief to enforce their own orders, context here favors a narrower reading.
                                                   11                                  18cv0428
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    1   claims “implicate[d] actions covered by Section 1252(a)(2)(A).” Id. Similarly,
    2   Plaintiffs’ claims here do not “arise from or relate to” their expedited removal
    3   orders. Rather, they concern the Government’s decision to separate them
    4   unlawfully from their children.
    5         As Kwai Fun Wong makes clear, the provisions on which the Government
    6   relies could not possibly divest this Court of jurisdiction to remedy other types of
    7   constitutional violations. If they could, it would mean that the Government could
    8   simply remove individuals before a federal court could remedy a host of
    9   constitutional violations that are independent of the removal process.4
   10         The Government also cites 8 U.S.C. § 1252(e)(1). But that provision likewise
   11   appears in a section of the statute about review of removal orders. Moreover, the
   12   Supreme Court has distinguished between injunctions and stays, explaining that the
   13   former “direct[s] the conduct of a particular actor,” whereas the latter merely
   14   “operates upon the judicial proceeding itself . . . by temporarily divesting an order
   15   of enforceability.” Nken v. Holder, 556 U.S. 418, 428 (2009) (vacating lower
   16   court’s order denying a stay of removal). All Plaintiffs seek here is a limited stay
   17   before Defendants enforce their expedited removal orders, to avert the risk that they
   18   gave up their rights or their kids’ without being informed of their options under the
   19   injunction.
   20         2. Section 1252(g). Plaintiffs have already addressed Defendants’ contentions
   21   about § 1252(g). Stay Mot. at 8-10. In a footnote, Defendants attempt to distinguish
   22   clear, on-point Ninth Circuit case law (Walters and Barahona) that rejects the
   23   Government’s reading of § 1252(g). Stay Opp. at 21 n.7. Defendants point to the
   24   2005 REAL ID Act’s addition of the phrase “statutory or non-statutory” to §
   25
        4
   26     Suppose, for instance, an immigrant were tortured in detention and brought a
        classic civil rights case. Under the Government’s view, a federal court would be
   27   powerless to keep the individual in the country for even a brief period to allow him
   28   to pursue his claim, even if he were not challenging his ultimate removal.
                                                  12                                  18cv0428
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    1   1252(g), but they do not explain why that undermines the Ninth Circuit’s reasoning,
    2   which distinguished between a court’s equitable relief to enter a stay of removal,
    3   and the court’s jurisdiction over a “cause or claim . . . arising from” a decision to
    4   execute the removal order. Here, the cause or claim that Plaintiffs raised is a
    5   challenge to their family separation, not to the validity of their removal orders. As
    6   in Walters and Barahona, the relief Plaintiffs are seeking is necessary to effectuate
    7   the injunctive relief. In those case, as in this case, the Court issued a stay of
    8   removal to enforce the injunction. And, as in this case, the injunctions in those
    9   cases involved constitutional violations unrelated to a challenge to a removal order.
   10         The Government also does not grapple with the Ninth Circuit’s en banc
   11   decision in United States v. Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004). See
   12   Stay Mot. at 10. There, the Ninth Circuit held that § 1252(g) only applies to
   13   discretionary decisions. Here, Plaintiffs are enforcing a non-discretionary
   14   constitutional right. As Hovsepian made clear, § 1252(g) was not directed to a case
   15   like the instant one. Rather, it was directed at cases where there was no legal
   16   violation and a plaintiff was simply challenging the Government’s discretionary
   17   decision to execute a removal order at a particular time. See id. at 1155 (explaining
   18   that § 1252(g) “was directed against a particular evil: attempts to impose judicial
   19   constraints upon prosecutorial discretion.”).
   20         Defendants also attempt distinguish the decision of Judge Carney in Chhoeun
   21   v. Marin, No. 17-cv-01898, 2018 WL 566821 (C.D. Cal Jan. 25, 2018), and the
   22   similar case of Sied v. Nielsen, No. 17-Cv-06785, 2018 WL 1142202 (N.D. Cal.
   23   Mar. 2, 2018). In both of those cases, the court issued a stay of removal and
   24   rejected the Government’s § 1252(g) argument, stressing that the § 1252(g) does
   25   not apply to non-discretionary constitutional claims. And notably, in both of those
   26   cases, the plaintiffs were seeking to challenge their removal orders. The
   27   Government has no answer to these cases other than to assert that the instant case,
   28   unlike those cases, does involve a discretionary decision. But that is flatly wrong, as
                                                    13                                  18cv0428
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    1   already discussed. It involves a constitutional right to family unity and fair notice.
    2   The very basis of Chhouen and Sied was that the government’s discretion does not
    3   include the discretion to violate the law. Here, the government’s removal of
    4   Plaintiffs will contravene the Court’s injunctive order that their constitutional right
    5   to reunification be exercised independently of their right to raise asylum claims and
    6   be waived only in a knowing, intelligent, and voluntary fashion.
    7         In sum, Defendants seek to use jurisdictional provisions that are designed to
    8   regulate judicial review of removal orders. Those provisions do not do the
    9   extraordinary work claimed by Defendants: strip a federal court of power to
   10   enforce its own orders involving an independent constitutional violation.
   11                                      CONCLUSION
   12         For the foregoing reasons, the Court should enjoin Defendants from
   13   removing parents until 7 days after notice of reunification.
   14
   15   Dated: July 25, 2018                       Respectfully Submitted,
   16                                              /s/Lee Gelernt
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                                                   14                                  18cv0428
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    1                             CERTIFICATE OF SERVICE
    2
              I hereby certify that on July 25, 2018, I electronically filed the foregoing with
    3
        the Clerk for the United States District Court for the Southern District of California
    4
    5   by using the appellate CM/ECF system. A true and correct copy of this brief has
    6
        been served via the Court’s CM/ECF system on all counsel of record.
    7
                                                       /s/ Lee Gelernt
    8                                                  Lee Gelernt, Esq.
                                                       Dated: July 25, 2018
    9
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                   Exhibit 44




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                          UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                           Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
17   v.
                                                        DECLARATION OF LUIS CRUZ
18   U.S. Immigration and Customs Enforcement
     (“ICE”); et al.,                                   CLASS ACTION
19
                            Respondents-Defendants.
20
21
22
23
24
25
26
27
28



                                                                   Exhibit 44, Page24
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 1
           1.     I, Luis Cruz, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
           2.     I am an Attorney at the law firm Paul, Weiss, Rifkind, Wharton &
 5
     Garrison LLP. I am a member of the New York State Bar. I am a native Spanish
 6
     speaker.
 7
           3.     I, along with other attorneys from our law firm, have been volunteering at
 8
     the Otero County Processing Center in Chaparral, New Mexico (“Otero”), where I
 9
     have been meeting with detained parents who were separated from their children.
10
           4.     In connection with this work, I was provided with a list of parents who
11
     the government has identified as having relinquished their right to reunify with their
12
     children. On July 22, 2018, I met with five fathers who had been placed on this so-
13
     called “relinquishment list,” but who told me that they did not understand the
14
     implications of what they were signing. All of the five fathers wish to be reunited
15
     with their children.
16
17
           5.     All of the five fathers told me that they were not able to read or write in

18
     Spanish nor English. One of the fathers told me that he was only shown the form that

19   he signed in English with no explanation; as such, he was surprised to learn that it

20   may have relinquished his rights to reunification with his son.

21         6.     Four of the fathers told me that they signed the form in a large group of
22   other fathers in detention, many of whom described signing the form in a group of 30-
23   50 people in a room that is used as a Church at Otero (the “Church”). All five told me
24   they felt intimidated when they signed this form.
25         7.     The first father told me that he was taken to the Church with a group of
26   50 fathers in detention on or around July 17, 2018. He said that the process of being
27   addressed and signing the form lasted no more than 4 minutes. He described not
28   having spoken to a lawyer, and that he has not been in front of a judge or court. He


                                                                        Exhibit 44, Page25
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 1
     has received an order of removal dated June 4, 2018. He said he wants to be reunited
 2
     with his son.
 3
           8.        The second father, who came to the United States with two children, told
 4
     me that he was also taken to the Church with a group of approximately 50 other
 5
     fathers in detention. He said that there was no explanation of the form that he signed
 6
     at this time. He said that he has no way to contact his children and has only spoken to
 7
     them one time since he detained on May 28, 2018. He told me that he has a court date
 8
     on July 26, 2018, but that he does not know what it is for. He has not received an
 9
     order of removal. He told me he wants to stay in the United States with his children.
10
           9.        The third father said that he was taken to the Church with around 25-30
11
     other fathers in detention. He said that there were more people coming in after he left.
12
     He said that he was given a form, that it was not explained to him, and that the entire
13
     process lasted no more than three minutes. He said that he felt sad and intimidated
14
     during this process. He expressed that he believed he had no choice but to sign the
15
     form. He said he has not received a final order of removal, and he does not know
16
17
     what the status of his case is. In fact, he has received an order of removal which is

18
     dated June 3, 2018.

19         10.       The fourth father described signing something at the Cibola Detention

20   Center before being transferred to Otero. He signed this form with three other fathers

21   in detention. He said this process was very quick, no more than a few minutes, and
22   that he was frightened. He said that the official intimidated him and told him where to
23   sign, even though he did not know what it was he was signing. He told me that he has
24   not spoken to a judge or been to court and he does not know what the status of his
25   case is. He has not received an order of removal. He said that he wants to be
26   reunified with his son, and that he wants to fight his case.
27         11.       The fifth father described signing two forms while in a detention facility
28   in Yuma, Arizona before being transferred to Otero. He said that the forms were in


                                                                         Exhibit 44, Page26
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 1
     English both times, that they were not explained to him. He said that an official made
 2
     him sign both forms. He expressed surprise and concern to me when he understood
 3
     from my questions that these forms may have had to do with not reunifying with his
 4
     son. He said that he had a court appearance on July 12 in which he was told he could
 5
     proceed with an appeal, but that he would need an attorney. He told me that he cannot
 6
     afford an attorney and does not understand where his case stands. He has not received
 7
     an order of removal. He told me that he wants to stay in the United States with his
 8
     son.
 9
            12.   Based on my discussion with these fathers, it appears that none were told
10
     the implications of what they were signing or had an understanding of what they were
11
     signing. Each of the fathers told me that they were not given the opportunity to ask
12
     questions. The manner in which they signed these forms was universally described as
13
     intimidating and very stressful. Each described feeling hopeless and believing that
14
     they had no alternative but to sign the form.
15
            13.   Finally, none described having the option to discuss the form with their
16
17
     separated children before signing. Indeed, none reported having communicated with

18
     their children on more than one or two occasions since their separations, some as

19   much as two months ago. One described his despair because he did not know even if

20   his child was safe and healthy; another broke down in tears as he described not having

21   spoken to his son in 25 days and being unsure of his location.
22          14.   None of the fathers I spoke with said that they had been furnished with a
23   copy of the form, or forms, that they signed. Thus it was difficult for both myself and
24   for them to understand what exactly they signed. Each expressed confusion and
25   visible distress because they do not know when they might be able to see their
26   children again.
27
28



                                                                      Exhibit 44, Page27
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                   Exhibit 45




                                                            Exhibit 45, Page29
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                          UNITED STATES DISTRICT COURT
14
                        SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                           Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
17   v.
                                                        DECLARATION OF SOFIA
18   U.S. Immigration and Customs Enforcement           REIVE
     (“ICE”); et al.,
19                                                      CLASS ACTION
                            Respondents-Defendants.
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28



                                                                   Exhibit 45, Page30
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 1
           1.     I, Sofia Reive, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
           2.     I am an Associate with the law firm Paul, Weiss, Rifkind, Wharton &
 5
     Garrison LLP. I am a member of the New York Bar. I am a native Spanish speaker.
 6
           3.     I, along with other attorneys from our law firm, have been volunteering at
 7
     the Otero County Processing Center in Chaparral, New Mexico (“Otero”), where I
 8
     have been meeting with detained parents who were separated from their children.
 9
           4.     In connection with this work, I was provided with a list of parents who
10
     the government has identified as having relinquished their right to reunify with their
11
     children. During the weekend of July 21–22, 2018, I met with nine fathers who had
12
     been placed on this so-called “relinquishment list.” Every one of these fathers told me
13
     that they did not want to be deported; they had no idea that they had signed a
14
     document that relinquished any rights to be reunited with the children. Every father I
15
     met with wants to be reunified with his children and remain in the United States.
16
17
           5.     One of these fathers on the relinquishment list, a man from Guatemala,

18
     has not received an order of removal, and was told that he had passed his credible fear

19   interview—he has a court date scheduled for August 7. He told me that he was taken

20   to a room at Otero approximately 10 days ago to meet with immigration officials. The

21   officials told him he was definitely going to be deported and then asked him whether

22   he wished to be deported with his daughter or by himself—the officials did not ask
23   him if he wished to be reunified with his daughter in the United States. The father
24   told them that he wished for his daughter to remain in the United States—this is
25   because, as he told me, it is not safe for his daughter to return to Guatemala due to
26   extreme and specific threats from a powerful and dangerous man who has demanded
27   to “buy” her. The officials then gave him a document in English (which he does not
28   understand), and told him that the only way his daughter could stay in the United


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 1
     States was if he signed this document. He had no opportunity to review the document
 2
     or ask any questions about it. He told me that he signed this document because he felt
 3
     pressured to do so and because he felt like he had no other choice. This entire
 4
     interaction lasted approximately one minute.
 5
           6.     Later, officials told him to sign another document in Spanish
 6
     acknowledging that he had understood the contents of the English document that he
 7
     had previously signed. He told me that he signed this document because he again felt
 8
     pressured to do so and because he wanted his daughter to be able to remain in the
 9
     United States, even though he had in fact not understood the English document he
10
     previously signed. He told me that, about two days later, officials informed him that
11
     he had passed his credible fear interview. He has a pending court date. He has only
12
     spoken with his daughter twice since they were separated. He told me that he wants to
13
     be reunified with his daughter in the United States.
14
           7.     Lastly, I spoke with a father on the relinquishment list who told me that,
15
     about 20 days ago, officials told him that he was going to be deported, and to choose
16
17
     whether to be deported with his daughter or be deported alone and his daughter would

18
     remain in the United States. At that time, he was not given the option to be reunited

19   with his daughter in the United States. He recalled selecting the option that allowed

20   his daughter to remain in the United States, but that he later changed his mind and

21   now wants to be reunified with her even if he is to be deported. He has not had a

22   credible fear interview, and has not appeared before an immigration judge. He
23   received an order of removal on June 17, 2018. He wishes to be reunified with his
24   daughter in the United States, but told me that if he is deported he wants his daughter
25   to come with him.
26         8.     I also met with four fathers on the relinquishment list who speak limited
27   Spanish, and whose first language is an indigenous language.
28



                                                                      Exhibit 45, Page32
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 1
            9.    One of these fathers on the relinquishment list told me that he has only
 2
     spoken to his son twice since they were separated two months ago. The last time he
 3
     spoke to his son was approximately 20 days ago. He told me that he signed a paper
 4
     that he thought would allow him to be reunited with his son. He also told me,
 5
     however, that he cannot read or write. His first language is Mam, but he has not been
 6
     provided with an interpreter who speaks Mam while detained. He has had two court
 7
     dates, but both times his hearing was adjourned because no Mam interpreter was
 8
     available. He has not received an order of removal. He told me that he does not want
 9
     to be deported—he wants to be reunified with his son and remain in the United States.
10
            10.   I met twice with another one of these fathers on the relinquishment list.
11
     He speaks extremely limited Spanish. He had difficulty communicating with me in
12
     Spanish given his limited knowledge of the language. His first language is Mam. He
13
     also told me that he cannot read or write. This father told me that he signed a
14
     document that he thought would allow him to be reunited with his son. He could not,
15
     however, understand the document because he is illiterate and no interpreter was
16
17
     provided to explain its contents to him in Mam. He has only spoken to his son twice

18
     and he does not know where his son is presently located. He has not received an order

19   of removal. This father told me that he wants to remain in the United States with his

20   son.

21          11.   Lastly, I spoke with a father on the relinquishment list whose first

22   language is Mam—he speaks limited Spanish. He also appeared to me to be unable to
23   read or write. This father told me that he was asked to sign a document in Spanish,
24   but was unable to explain to me what he had signed. This father told me that he wants
25   to remain in the United States with his son. He told me he has not a credible fear
26   interview, and he had not appeared before a judge. He has not received an order of
27   removal. He told me that he submitted a request to ICE stating that, in the event that
28   he is deported, he wants to be reunified with his son.


                                                                       Exhibit 45, Page33
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                                                            Exhibit 45, Page34
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                   Exhibit 46




                                                            Exhibit 46, Page35
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2561 Page 39 of 125



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17                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
18
19 Ms. L., et al.,
20                         Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
21 v.                                                   DECLARATION OF E. GAIL
22                                                      SUCHMAN
   U.S. Immigration and Customs Enforcement
23 (“ICE”); et al.,                                     CLASS ACTION
24                          Respondents-Defendants.
25
26
27
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                                                                    Exhibit 46, Page36
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 1         1.     I, E. Gail Suchman, make the following declaration based on my personal
 2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3   the following is true and correct:
 4         2.     I am a partner at the law firm of Stroock & Stroock & Lavan LLP. I am
 5   a member of the New York State Bar.
 6         3.     I have been volunteering at the El Paso Processing Center in El Paso,
 7
     Texas, where I have been meeting with detained parents who were separated from
 8
     their children.
 9
           4.     Between July 20 and 22, 2018, I met with at least four mothers and two
10
     fathers who were separated from their children and who have been identified by the
11
     government as having relinquished their right to be reunified with their children. All
12
     of them wish to be reunited with their children.
13
           5.     One of the mothers came from El Salvador on or about June 1, 2018,
14
     with her 17 year old son. She was apprehended after crossing the border and, after a
15
     day, she was separated from her son and taken to federal prison in El Paso in
16
     handcuffs and chains. Since then, she has been moved to three other detention
17
     centers, ending up in the El Paso Processing Center on July 19, 2018. She was not
18
     told where her child was located for at least a month. She spoke to him once two
19
     weeks ago and now the phone number she was given does not work. She believes she
20
     had a Credible Fear Interview on July 5, 2018, and has not heard anything in response.
21
     According to the government’s list, she does not have a final removal order.
22
23
           6.     While this mother was in detention, an agent gave her a paper to sign and

24
     she was told it said that she wishes her son to stay in the United States. The paper was

25   in English and she does not speak or read English. She also demonstrated difficulty

26   writing her name, even in Spanish. She said she does not want her son to go back to

27   El Salvador because he is very dark skinned and suffered a great deal of
28



                                                                      Exhibit 46, Page37
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 1   discrimination there. She wants to be reunited with her son but is afraid the
 2   government will not reunite her with him.
 3         7.     Another mother from Guatemala crossed into the United States on May
 4   22, 2018, with her 13 year old son. They were picked by border patrol within five
 5   minutes and were brought to the “hielera.” The next day, she was separated from her
 6   son and sent to another detention facility. She did not sign anything. She came to the
 7
     El Paso Processing Center on June 22 or 23, 2018, where she said an ICE agent told
 8
     her she could not ask for asylum because of where she crossed: it was too far from a
 9
     Port of Entry. The agent said she had no options. She did not want to sign anything
10
     but believed she had no option. She signed a paper that the agent told her would allow
11
     her son to stay here if she were to be deported. However, as far as she knows, she has
12
     no final removal order. And according to the government's list, she does not have a
13
     final removal order. She wants to be considered for asylum and to be reunited with
14
     her son while she pursues her case.
15
           8.     Another mother from Honduras crossed the border with her two children,
16
     ages 14 and 9, on June 4, 2018. They were picked up by border patrol and taken to
17
     the immigration office. The next day the mother was separated from her children and
18
     taken to a detention facility. She believes her children were taken to a shelter in New
19
     York. She has spoken with them only twice. On June 27, 2018, at the El Paso
20
     Processing Center, she was given a paper to sign and was told it was about her asylum
21
     claim. She signed. She said she was told she had a Credible Fear Interview scheduled
22
23
     for 15 days ago but it never happened. She does not have a final removal order. She

24
     has heard nothing about being reunited with her children but she wants to be reunified

25   while she pursues her asylum claim.

26         9.     Another mother from Honduras arrived in the United States on May 16,

27   2018, crossing at Laredo with her daughter (10 years old) and son (6 years old). They
28   were picked up by border patrol and stayed together in the “icebox” for 5 days. After


                                                                      Exhibit 46, Page38
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 1   Laredo, she was taken to two more detention facilities. On May 21, 2018, the mother
 2   was taken to immigration court and was told she would be deported with her children.
 3   She was asked to sign a form but refused and was then represented by counsel. She
 4   had a Credible Fear Interview on June 20, 2018, which she passed. She wants to be
 5   reunified with her children while she pursues her asylum claim.
 6           10.   I declare under penalty of perjury that the foregoing is true and correct,
 7
     based on my personal knowledge. Executed in New York, New York, on July 23,
 8
     2018.
 9
10
11
12
13
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                                                                        Exhibit 46, Page39
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                   Exhibit 47




                                                            Exhibit 47, Page40
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                                                            Exhibit 47, Page41
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2567 Page 45 of 125




                                                            Exhibit 47, Page42
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                                                            Exhibit 47, Page43
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                   Exhibit 48




                                                            Exhibit 48, Page44
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2570 Page 48 of 125



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13                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
14
     Ms. L., et al.,
15
                           Petitioners-Plaintiffs,    Case No. 18-cv-00428-DMS-MDD
16 v.
17 U.S. Immigration and Customs Enforcement
                                                      DECLARATION OF KATHRYN
                                                      E. SHEPHERD
     (“ICE”); et al.,
18
                                                      CLASS ACTION
19
                            Respondents-Defendants.

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                                                                 Exhibit 48, Page45
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2571 Page 49 of 125



 1
     1.    I, Kathryn E. Shepherd, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am National Advocacy Counsel for the Immigration Justice Campaign, a joint
 5
     initiative between the American Immigration Council and the American Immigration
 6
     Lawyers Association. I focus on legal advocacy and policy related to individuals held
 7
     in ICE custody and asylum-seeking women and children detained in family detention
 8
     centers around the country. I am a member of the State Bars of New York and Texas.
 9
     3.    I, along with two other volunteers from our organization, spent four days from
10
     Monday, July 9, 2018, through Thursday, July 12, 2018, meeting with parents
11
     separated from their children. These individuals were detained in the West Texas
12
     Detention Facility in Sierra Blanca, Texas (“Sierra Blanca”); the Otero County
13
     Facility (“Otero”) and the Otero Prison in Chaparral, New Mexico; and the El Paso
14
     Service Processing Center in El Paso, Texas.
15
     4.    I personally interviewed approximately 15 separated parents during this time
16
17
     period. Many of these individuals stated that they had signed paperwork they did not

18
     understand concerning their right to reunification with their children. None of the

19   parents with whom we met were given a copy of the paperwork they were asked to

20   sign. One father was told that if he didn’t sign the form presented to him, then he

21   would not see his daughter again.

22   5.    A typical scenario relayed to me by detained parents was that ICE officers told
23   the parents that in order to see their children, they had to sign the form that was
24   presented in front of them. The parents reported that they were not permitted to ask
25   any questions regarding the forms they were being asked to sign.
26   6.    Some parents do not read or write in Spanish. One parent reported that ICE
27   officers read the form to him in English (not Spanish), even though he could read and
28   write in Spanish, but not English.

                                                                                      18cv0428
                                                                        Exhibit 48, Page46
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 1
     7.    For example, I interviewed one asylum-seeking parent from Guatemala who
 2
     does not read or write in any language. At the time that an ICE officer approached her
 3
     to sign paperwork regarding her deportation and relinquishment of the opportunity to
 4
     reunify with her child, the parent had not yet spoken to her child or know the child’s
 5
     whereabouts. When an ICE officer presented the deportation and relinquishment form
 6
     to her, the officer did not read the form aloud to her. The parent told the officers that
 7
     she wanted to apply for asylum, but the ICE officer responded that applying for
 8
     asylum would take six to eight months and that she would not see her daughter during
 9
     that time period. Because the parent could not bear being separated from her daughter
10
     and detained for so many additional months, the parent signed the form. The next day,
11
     officers from the Department of Health and Human Services (HHS) met with her and
12
     gave her information about where her daughter was, and gave her numbers where she
13
     could reach her daughter.
14
     8.    Some parents were also told about their rights to reunification in large group
15
     presentations by ICE. Just before I visited the Otero Facility on July 12, 2018, a large
16
17
     group of fathers had been transferred in the prior day or two to Otero from Sierra

18
     Blanca. According to at least three transferred fathers with whom we met in Otero, a

19   large group of fathers in Sierra Blanca had been called together by ICE on July 11,

20   2018 and instructed to sign paperwork. By one man's account, about 63 men were

21   called, though they were broken up into smaller groups. The men were told that they

22   had three options: (a) be removed without their child; (b) be removed with their child;
23   or (c) continue to fight their claims for asylum.
24   9.    Critically, these parents were not clearly informed and did not actually
25   understand that they could both continue to fight their asylum claims and be reunified
26   with their children.
27   10.   I, along with other members of our team, heard from multiple parents at Otero
28   that ICE officers and detention center guards at Otero and Sierra Blanca told them that

                                                                                       18cv0428
                                                                        Exhibit 48, Page47
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 1
     they had no rights; that it would take at least six to eight months to fight their asylum
 2
     claims; that they would not see their children during this entire time; and that they
 3
     would be deported when they lost.
 4
     11.   One father also told us that an ICE officer told him that if he wished to fight his
 5
     asylum case, that it would cost him at least $500 every time he wished to see any
 6
     attorney.
 7
     12.   Several parents told us that they did not apply for asylum or related forms of
 8
     protection, despite having a fear of return to their home country, because they were
 9
     told by ICE or Customs and Border Protection officials that they were not allowed to
10
     apply due to having had been deported from the United States in the past.
11
     13.   I declare under penalty of perjury under the laws of the United States of
12
     America and the District of Columbia that the foregoing is true and correct, based on
13
     my personal knowledge. Executed in Washington, D.C. on July 23, 2018.
14
15
16
17                                                      ____________________________
                                                        KATHRYN E. SHEPHERD
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                                                                                       18cv0428
                                                                        Exhibit 48, Page48
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                   Exhibit 49




                                                            Exhibit 49, Page49
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2575 Page 53 of 125



 1   Lee Gelernt*                           Bardis Vakili (SBN 247783)
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     Attorneys for Petitioners-Plaintiffs *Admitted Pro Hac Vice
 9   Additional counsel on next page
10                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
11
     Ms. L., et al.,
12
                       Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
13 v.
14 U.S. Immigration and Customs Enforcement
   (“ICE”); U.S. Department of Homeland Security
15 (“DHS”); U.S. Customs and Border Protection
   (“CBP”); U.S. Citizenship and Immigration        DECLARATION OF LAUREN
16 Services (“USCIS”); U.S. Department of Health
                                                    CONNELL
17 and Human    Services (“HHS”);  Office of
   Refugee Resettlement (“ORR”); Thomas
18 Homan, Acting Director of ICE; Greg              CLASS ACTION
   Archambeault, San Diego Field Office Director,
19 ICE; Joseph Greene, San Diego Assistant Field
   Office Director, ICE; Adrian P. Macias, El Paso
20
   Field Director, ICE; Frances M. Jackson, El Paso
21 Assistant Field Office Director, ICE; Kirstjen
   Nielsen, Secretary of DHS; Jefferson Beauregard
22 Sessions III, Attorney General of the United
   States; L. Francis Cissna, Director of USCIS;
23 Kevin K. McAleenan, Acting Commissioner of
24 CBP; Pete Flores, San Diego Field Director,
   CBP; Hector A. Mancha Jr., El Paso Field
25 Director, CBP; Alex Azar, Secretary of the
   Department of Health and Human Services;
26 Scott Lloyd, Director of the Office of Refugee
   Resettlement,
27
28                      Respondents-Defendants.



                                                             Exhibit 49, Page50
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2576 Page 54 of 125



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                                                            Exhibit 49, Page51
Case 3:18-cv-00428-DMS-MDD Document 153 Filed 07/25/18 PageID.2577 Page 55 of 125



 1   1.    I, Lauren Connell, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
 4   the following is true and correct:
 5   2.    I am a licensed attorney and Pro Bono Counsel at the law firm Akin Gump
 6
     Strauss Hauer & Feld LLP, based out of New York. In 2014, I was seconded by Akin
 7
 8   Gump for four months to our San Antonio office to work full-time counseling families
 9
     detained at the Karnes County Residential Center, which at the time had recently
10
11
     opened as an immigrant family detention facility housing women and children. After

12   returning to New York at the end of 2014, I have made several trips to the Karnes
13
     facility in the intervening years to counsel detained families.
14
15   3.    My most recent trip took place last week, from July 17 to July 20, 2018. During
16   that trip I saw a level of disarray that I have not seen since my initial days at the
17
     facility when it first opened in 2014.
18
19   4.    Just prior to my arrival, the family reunification process had led to a mass
20
     transfer of hundreds of women and children out of Karnes in order to make space to
21
     reunify families who had been separated. Throughout the week, the facility was
22
23   repopulated in waves with men being reunited with their children in detention at
24
     Karnes. Any women remaining at the facility during the week were swiftly
25
26   transferred out with no notice to counsel. Then, inexplicably, at the end of the week, a

27   new group of women without children were brought to the facility.
28


                                                                                        18cv0428
                                                                         Exhibit 49, Page52
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 1   5.      The upending of the Karnes population due to family reunification has created a
 2
     multitude of challenges for pro bono attorneys providing legal services to the families
 3
 4   detained at the facility. The pro bono legal program at Karnes is run by an
 5   organization RAICES with the help of volunteer attorneys such as myself. That
 6
     program was designed to serve families who recently entered the country and
 7
 8   remained together throughout the length of their detention. This meant that we were
 9
     able to advise the women from the outset and, in most cases, before they were given a
10
11
     credible fear interview.

12   6.      In the typical case we previously saw at Karnes, the parents were all at an early
13
     stage of their immigration proceedings and had not yet received credible fear
14
15   interviews. Therefore, it was easy to hold group intake sessions for the parents where
16   we gathered biographical information and immigration history and to determine
17
     whether the detained parents had been scheduled for a credible fear interview. These
18
19   group intake sessions lasted for approximately 30 to 45 minutes, depending on the
20
     size of the group. From there, the next step was to counsel families individually on
21
     how to prepare for their upcoming credible fear interview. All told, we spent perhaps
22
23   30 minutes to an hour consulting with each individual parent in the typical Karnes
24
     case.
25
26   7.      The new families being relocated to Karnes, on the other hand, are in a

27   completely different situation. These families are comprised of fathers and their
28


                                                                                       18cv0428
                                                                        Exhibit 49, Page53
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 1   children who had been present in the United States for several weeks or months prior
 2
     to entering Karnes, which meant that we were not seeing them at the outset of their
 3
 4   legal proceedings. All but one of the fathers I met with had already been given a
 5   credible fear interview without first having a chance to consult with a lawyer and had
 6
     been found not to have a credible fear of returning to their home country. Since their
 7
 8   children had been separated from them, the children’s cases were bifurcated from that
 9
     of their parents, which does not happen if the families remain intact during detention.
10
11
     Complicating matters further, these families endured the recent trauma of being

12   forcibly separated after entering the United States.
13
     8.    Advising these reunified families is a much more time-intensive undertaking
14
15   than the representation of the women and children who typically are detained at
16   Karnes.
17
     9.     Since these families entered the country at varying times and are at different
18
19   stages of expedited removal, we were not able to do group intake sessions for these
20
     families. Some parents may not have had credible fear interviews; others may have
21
     been found by asylum officers not to have a credible fear of return so were awaiting
22
23   review by an immigration judge; others have even had their negative credible fear
24
     finding affirmed by an immigration judge. We therefore had to meet individually with
25
26   each family to do an intake. This intake was far more time-intensive than in the

27   typical Karnes case. At a minimum, these intakes lasted for several hours. But a
28


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 1   number of factors can lead the intake process to extend over a period of days: level of
 2
     trauma, language abilities, complexity of the case, whether families have paperwork,
 3
 4   and the sophistication of the clients.
 5   10.   First, the parents with whom I met last week seemed even more traumatized
 6
     and disoriented than the parents I met during my other visits, most likely due to their
 7
 8   recent separation from their children. As a result, I needed to spend time at the outset
 9
     of each meeting building rapport to make sure they trusted me and felt comfortable.
10
11
     11.   Second, we needed to spend additional time reviewing all legal documents in

12   the family’s possession to ascertain the stage of their legal proceedings. Some parents
13
     and children may have come to the facility with paperwork, but have to go back to
14
15   their living quarters to get it – increasing the amount of time for an intake
16   considerably. Given facility security requirements, moving between visitation areas
17
     and personal space can take 15 to 20 minutes. Additional time may be needed if, as
18
19   with last week, men were required to be escorted individually by GEO staff members
20
     due to the presence of women in the facility. But, it is also possible that men do not
21
     have their paperwork as they may have not been able to bring it when transferred. Or,
22
23   they may have some paperwork, but it is incomplete. In these situations, this will
24
     extend the period of an intake even longer, as lawyers have to make a request to the
25
26   government to obtain the documents. This, again, is markedly different from the

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 1   typical Karnes case we saw before because we usually saw those parents before they
 2
     had received many immigration documents or paperwork.
 3
 4   12.   Third, we then needed to counsel the clients on next steps for their legal case.
 5   We discovered that most of the recently-reunited parents already had received credible
 6
     fear interviews and were found not to have a credible fear of return. We also found
 7
 8   that, for many of these men, their paperwork reflected that they had not requested to
 9
     have this decision reviewed by an immigration judge. We therefore had to explain the
10
11
     process of immigration judge review and answer the client’s questions. I found that

12   the clients I saw had not previously met with a lawyer and had been given
13
     misinformation about the process before reaching me, so I had to correct these
14
15   misunderstandings. Also, I believe that the trauma they endured from the recent
16   separations likely led to skepticism that caused them to ask additional questions.
17
     After this lengthy conversation, if the client decides that he wants an immigration
18
19   judge review, this causes another scramble to notify the government and get
20
     paperwork re-served on the client that properly reflects his preference for an
21
     immigration judge review, leading to a delay of at least a day.
22
23   13.   Fourth, we had to collect the typical biographical information and immigration
24
     history that we traditionally had collected from clients.
25
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 1   14.   Fifth, we needed to collect information about the circumstances of their
 2
     separation, so that we could be sensitive to their needs and best counsel them given
 3
 4   the trauma endured.
 5   15.   Sixth, we needed to meet with the children separately from their fathers to
 6
     understand the procedural posture of their cases and ensure that their interests were
 7
 8   aligned with that of their parents.
 9
     16.   After this lengthy intake was completed, we generally dismissed the family for
10
11
     the day so that we could move on to serve other families. Then, the next day, for

12   those fathers who had negative credible fear interviews, we had to start the process of
13
     preparing a declaration to use as supporting evidence in their review hearing before
14
15   the immigration judge. This has to be done immediately, because once you request a
16   hearing before an immigration judge, the hearing by regulation should be scheduled
17
     within 7 days and it is hard to delay. This means that time and space in the facility
18
19   will have to be dedicated to more complete interviewing of a parent and child. The
20
     declarations are multiple pages in length and describe why they fear returning to their
21
     country and the reasons they found it difficult to express themselves in their credible
22
23   fear interview.
24
     17.   These declarations usually take two days to draft and finalize assuming there
25
26   are no unforeseen delays. This is because they require at least two client meetings

27   each lasting 1 to 2 hours, as well as a period of time away from the client to develop a
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 1   working draft of the declaration. The declarations require a high level of detail, and it
 2
     has been my experience that clients who have undergone trauma have a more difficult
 3
 4   time expressing themselves articulately and remaining focused when asked to recount
 5   traumatic events. Therefore, after the initial meeting where we gather information
 6
     from the clients, we often need to have a follow-up meeting to clarify details and
 7
 8   finalize the declaration. Sometimes, even a third meeting is required.
 9
     18.   Then, once the declaration is drafted, another multi-hour meeting is needed to
10
11
     prepare the client for the hearing before the immigration judge.

12   19.   Creating additional delays is the fact that client meetings must be spaced out to
13
     give traumatized clients time to recover between meetings and to give pro bono
14
15   attorneys time to meet with the multitude of clients at the facility. Moreover,
16   meetings are frequently interrupted due to meal times, appointments with GEO,
17
     appointments with consular officials and other unforeseen circumstances.
18
19   20.   Moreover, legal representation can only begin once the client is connected to
20
     pro bono legal services, which may take up to 2 days after they arrive at Karnes. The
21
     recent shifting population at Karnes means that it is harder than usual for pro bono
22
23   attorneys to know who is in the facility and to ensure that the recent arrivals are aware
24
     that free legal services are available. Even in typical circumstances, it is challenging
25
26   to effectively communicate the availability of pro bono legal services since the facility

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 1   does not provide a list of recently-arrived detainees to RAICES. Frequent turnover
 2
     only compounds this fundamental issue.
 3
 4   21.   Moreover, this timeline assumes that there is sufficient space and an adequate
 5   number of pro bono attorneys in the facility to serve these families. Space for
 6
     attorney-client meetings at Karnes is extremely limited. The visitation area has only
 7
 8   five private rooms available for attorney-client meetings. These private rooms are
 9
     located off of a larger general visitation area, which contains a few tables with hard
10
11
     plastic chairs, a children’s play area, a television, and a desk which is manned at all

12   times by a GEO employee. At times, there are family members of detained
13
     immigrants at some of these tables visiting with their loved ones. If the private rooms
14
15   are full, we are forced to meet with clients in this general area, where there is no
16   privacy and considerable background noise from other meetings, children playing, the
17
     television in the background, intercom announcements and noise from GEO staff’s
18
19   walkie-talkies. Meetings that take place in the general area simply take longer due to
20
     these distractions.
21
     22.   These space constraints place a hard limit on the number of attorneys who are
22
23   able to enter the facility and provide counsel to these families. Last week, the space
24
     constraints were exacerbated by the arbitrary decision that attorneys could not meet
25
26   with men and women in the visitation area at the same time, which is the type of

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 1   unforeseen circumstance that can add a day or more to the timeline to provide
 2
     adequate legal representation.
 3
 4   23.   Moreover, with the Karnes population expected to swell by hundreds of
 5   families over the next few days, additional days will need to be accounted for in the
 6
     timeline because pro bono attorneys will not have sufficient time each day to hold
 7
 8   these lengthy meetings with every family that needs to be served. Even if lawyers
 9
     held group meetings with recently-reunified families, which would not be appropriate
10
11
     in these circumstances given the personalized nature of these intakes and the level of

12   trauma experienced by these families, at most 30 detainees can fit in the general
13
     visitation space at any given time. Even if one or two of these large groups could be
14
15   processed per day in this manner, with an influx of hundreds of families at one time, it
16   would take a period of several days for every family to have some sort of meaningful
17
     interaction with an attorney.
18
19   24.   Because of these unique challenges in representing reunited families in
20
     detention, at least 7 days to meet with these families once they arrive at Karnes is
21
     crucial in order to ensure that these families have access to counsel so that they can
22
23   understand their rights and adequately articulate their claims for protection in the
24
     United States. However, this is the bare minimum amount of time that would be
25
26   needed, and additional days to meet with these families would be helpful to ensure

27   effective counseling of these families.
28


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                   Exhibit 50




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                   Exhibit 51




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     9
                              UNITED STATES DISTRICT COURT
    10                      SOUTHERN DISTRICT OF CALIFORNIA
    11

    12   Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
                                                            MDD
    13                         Petitioners-Plaintiffs,
         v.
    14                                                    Date Filed: June 25, 2018
         U.S. Immigration and Customs Enforcement
    15   (“ICE”); U.S. Department of Homeland Security
         (“DHS”); U.S. Customs and Border Protection
    16   (“CBP”); U.S. Citizenship and Immigration        DECLARATION OF SHALYN
         Services (“USCIS”); U.S. Department of Health FLUHARTY
    17   and Human Services (“HHS”); Office of
         Refugee Resettlement (“ORR”); Thomas
    18
         Homan, Acting Director of ICE; Greg              Class Action
         Archambeault, San Diego Field Office Director,
    19
         ICE; Joseph Greene, San Diego Assistant Field
         Office Director, ICE; Adrian P. Macias, El Paso
    20
         Field Director, ICE; Frances M. Jackson, El Paso
         Assistant Field Office Director, ICE; Kirstjen
    21
         Nielsen, Secretary of DHS; Jefferson Beauregard
         Sessions III, Attorney General of the United
    22
         States; L. Francis Cissna, Director of USCIS;
         Kevin K. McAleenan, Acting Commissioner of
    23
         CBP; Pete Flores, San Diego Field Director,
         CBP; Hector A. Mancha Jr., El Paso Field
    24
         Director, CBP; Alex Azar, Secretary of the
         Department of Health and Human Services;
    25
         Scott Lloyd, Director of the Office of Refugee
         Resettlement,
    26

    27
                                Respondents-Defendants.

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     1   1.    I, Shalyn Fluharty, make the following declaration based on my personal
     2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
     3   that the following is true and correct:
     4   2.    I am the Managing Attorney of the Dilley Pro Bono Project ("DPBP"), where
     5   I provide pro bono representation to families who are detained at the South Texas
     6   Family Residential Center ("Dilley") in Dilley, Texas. DPBP represents the
     7   overwhelming majority of families who are detained in Dilley, with the assistance
     8   of a rotating weekly group of between 30 and 45 volunteers. I oversee
     9   approximately seven full-time employees and supervise and train a national
    10   network of volunteers.
    11   3.    On or around Thursday, July 19, 2018 reunited mothers and children arrived
    12   at Dilley for the first time. As of the end of the day on July 23, there were 31
    13   families detained in Dilley.
    14   4.    We did not receive any notice that these families were going to arrive. We
    15   were not informed after they arrived.
    16   5.    We only heard about the reunified mothers and children because our existing
    17   clients at the facility told us. Our clients said that they were seeing families with
    18   different kinds of institutional shoes, a sign that they had been transferred from
    19   elsewhere. They informed us the newly arrived families were separated from the
    20   rest of the general population, and placed in an area of the facility alone, far from
    21   the other detained families. This meant that it was likely harder for these families
    22   to get learn about legal services.
    23   6.    When we heard about the families, we wanted to find them and help them.
    24   Because we did not know their names or their identities, we had to ask our clients
    25   for help. Our clients then tracked down the reunified parents, told them about our
    26   services, and where they could go to speak with us.
    27

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    1   7.    My best guess is that it took at least 24 hours, if not more, between the arrival
    2   of a family and when we heard about them, and then additional time before we
    3   were even able to meet with the family to begin counseling them.
    4   8.    I still do not know whether these families will be joined by others over the
    5   course of the next twenty-four hours. At points over the past week, I have heard
    6   rumors that hundreds of families will be moved here. But I still do not know when
    7   they will arrive, or how many, let alone their identities.
    8   9.    This lack of notice makes it difficult to plan on how to deploy volunteer and
    9   pro bono attorneys to assist in representation. Counseling these reunified families
   10   is very challenging. It requires a different allocation of our resources and the use of
   11   different intake and counseling strategies.
   12   10.   Counseling these reunited families is unlike anything and far more difficult
   13   than anything I have encountered during the more than two years that I have
   14   represented families detained in Dilley.
   15   11.   As an initial matter, it has been challenging – if not impossible – to
   16   determine the procedural posture of each mother and child’s case. Mothers and
   17   children are profoundly confused. Most arrive with no documents from any prior
   18   proceedings. Mothers are unable to confirm whether they spoke with an asylum
   19   officer, or immigration judge. Some mothers who can confirm seeing an asylum
   20   officer or immigration judge were transferred before they were issued a decision in
   21   their case, and do not know whether or not they received a positive or negative fear
   22   determination. Many report being told by immigration officials they would be
   23   deported, even though they do not appear to have final orders of removal.
   24   12.   Mothers report being forced to sign documents in English that they did not
   25   understand, and not being given a copy. Some mothers state their legal paperwork
   26   was taken away from them, either in transit, or upon arrival to Dilley.
   27   13.   The same is true for children. Most have arrived to meet with us without
   28   their own case files. Many say their paperwork was taken away from them when

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    1   they arrived to Dilley. Thus, we do not know what stage the children’s case was in,
    2   nor do they have information as to whether they had a lawyer previously, or even
    3   the name of the lawyer or child advocate at the ORR facility where they were
    4   previously held.
    5   14.   The scant paperwork that parents and children do have only creates more
    6   confusion. Some children have copies of Notices to Appear in removal
    7   proceedings. However, when I call the automated immigration court system hotline,
    8   it states the child’s A# is not in the system. Many parents have copies of signed
    9   documents confirming they will be released on their own recognizance from
   10   detention with a Notice to Appear. However, rather than being released, the
   11   mothers were transferred to Dilley and then placed in detention.
   12   15.   Finding out the status of these families’ cases is extremely important. In fact,
   13   it is a basic part of counseling these families. More than half of the reunited
   14   mothers we have seen in the past few days do not have final orders of removal.
   15   Some are waiting for CFI or IJ decisions (or, more troublingly, may be the subject
   16   of a decision that they do not know of). Some may have never known to request a
   17   CFI determination. Some of them report having signed documents in English
   18   which may have waived their right to an IJ review of a negative credible fear
   19   determination, a right that they wish to reinstate while they are with their children.
   20   16.   Because lawyers cannot get this information from clients, a single meeting is
   21   not enough. Instead lawyers have to then spend time tracking down the child’s
   22   lawyer or advocate, or the mother’s previous attorney, and try to speak to them. IN
   23   a few cases, we are waiting for records to be sent to us from other lawyers across
   24   the country who have decided to terminate their representation of a mother or child
   25   because they have been transferred far away from where the lawyer is able to
   26   provide services.
   27   17.   I have made a written request for every reunited child to ICE, requesting a
   28   copy of the child’s A file, including any and all removal orders and charging

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    1   documents. These written requests have gone unresponded to. I have spoken
    2   personally with our local Assistant Field Office Director, requesting that all
    3   documents confiscated from my clients upon entry to the facility be returned to
    4   them. It has been nearly a week, and we have not seen the documents returned. We
    5   have also sent emails requesting clarification regarding the procedural posture of
    6   numerous mother’s cases, and have yet to receive a response.
    7   18.   Trauma and lack of trust have created additional impediments to providing
    8   legal assistance. Mothers state they have been lied to, coerced, and threatened while
    9   in government custody. Daily, mothers receive new disclosures from their children
   10   regarding their experiences in government shelters throughout the country. Children
   11   have expressed being deprived food, experiencing physical violence, and suffering
   12   ongoing depression during their separation from their parents. Some parents state
   13   they did not recognize their child upon reunification, because their child lost so
   14   much weight.
   15   19.   These realities require, as a part of our assistance, considerable time, and
   16   deliberate and focused efforts to build rapport and trust with each mother and child.
   17   20.   Conversations regarding separation have proven unbearable for many of our
   18   clients. The topic itself produces overwhelming emotion, prohibitive of discussing
   19   the potential options a mother or child may have, such that they can make an
   20   informed decision regarding how they would like their case to proceed. Even
   21   benign questions – like the question asking mothers to list the names and locations
   22   of their children on our intake form – produce tears and paralysis. The trauma not
   23   only ends a meaningful conversation regarding the mother and child’s decision-
   24   making in their case, but also impedes their ability to accurately recount basic
   25   events in their legal cases.
   26   21.   It is nearly impossible to interview parents and children separately because
   27   they have only been reunited for such a short period of time, and have a palpable
   28   fear they will soon be separated yet again. This presents a barrier to fact-gathering

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    1   regarding the mother and child’s underlying asylum claims. Parents need to be able
    2   to describe the harm they have experienced before coming to the United States so
    3   that lawyers know if they have a claim for asylum, or if that claim was waived in
    4   the belief that waiver was necessary for reunification to occur. Speaking to an
    5   asylum seeker about the physical and sexual violence they have fled is difficult
    6   enough. Parents are understandably reluctant to speak about these subjects in the
    7   presence of their children. But these families are seeing each other for the first time
    8   after months apart. They fear separation, and is a struggle to make a family
    9   comfortable enough that a child is willing to leave their parent’s presence, and vice
   10   versa.
   11   22.      The families have not even been able to meaningfully discuss their legal
   12   options with each other. They do not yet understand their own cases or rights, and
   13   are therefore incapable of making a decision together. The phone calls that some of
   14   the mothers and children had with each other before being reunified was simply
   15   inadequate for that purpose. Furthermore, the calls that were facilitated while the
   16   families were separated were monitored by officials, preventing disclosures of
   17   important information. Mothers have said that they were able to speak to their
   18   children once or twice, for very short periods of times. They were so overwhelmed
   19   with emotion that making informed legal decisions was simply not possible.
   20   23.      In some cases, mothers were represented by lawyers prior to their transfer,
   21   however, they were transferred in the middle of the night away from their facilities
   22   and their lawyers to Dilley. In these cases, because they are still represented, I am
   23   limited in my ability to interact or counsel the client until I am able to contact the
   24   prior attorney and get their consent, which – again – takes time. At least a day will
   25   be lost as we speak to the prior attorney and then, again, call a client back for
   26   another legal meeting.
   27   24.      Under these conditions, counseling these families as to the decisions they
   28   have to make is extraordinarily difficult. Even if we had access to their

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    1   immigration files and were able to easily ascertain basic information such as
    2   whether a parent had requested a credible fear hearing, had received a negative
    3   decision, or had requested or waived review before an Immigration Judge, we still
    4   need to speak to the child’s advocate or lawyer, the parent’s lawyer if they had one,
    5   or at the very least access the records. Even then, we would have to spend time
    6   with extremely traumatized families to explain their choices and rights. It is
    7   challenging to find time to meet with the client while also tracking down records
    8   and advocates, especially because we are prohibited from bringing cell phones into
    9   the facility and are therefore unable to receive call backs from lawyers and
   10   advocates with whom we urgently need to communicate about a case.
   11   25.   The advocates at Dilley are committed to ensuring that every family gets the
   12   counseling they need. Given the state that these families are in when they arrive,
   13   without any notice, or any information, in the facility, this process will require time.
   14   Even seven days from the time when we first meet with the family (as opposed to
   15   when the family arrives, unbeknownst to us) presents challenges. Less time runs the
   16   risk that these families will be deported or separated without any understanding of
   17   their rights or those rights they may have been led to unknowingly or involuntarily
   18   waive.
   19   26.   I declare under penalty of perjury under the laws of the United States of
   20   America that the foregoing is true and correct, based on my personal knowledge.
   21
                                                Executed in Dilley, Texas on July 25, 2018.
   22
   23                                           _____________________________
                                                Shalyn Fluharty
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   25
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                                                                     Exhibit 51, Page78
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                   Exhibit 52




                                                            Exhibit 52, Page79
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                   Exhibit 53




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    10                      SOUTHERN DISTRICT OF CALIFORNIA
    11

    12
         Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
                                                            MDD
    13                         Petitioners-Plaintiffs,
         v.
    14                                                    Date Filed: June 25, 2018
         U.S. Immigration and Customs Enforcement
    15   (“ICE”); U.S. Department of Homeland Security
         (“DHS”); U.S. Customs and Border Protection
    16   (“CBP”); U.S. Citizenship and Immigration        DECLARATION OF LEAH
         Services (“USCIS”); U.S. Department of Health CHAVLA
    17   and Human Services (“HHS”); Office of
         Refugee Resettlement (“ORR”); Thomas
    18   Homan, Acting Director of ICE; Greg              Class Action
         Archambeault, San Diego Field Office Director,
    19   ICE; Joseph Greene, San Diego Assistant Field
         Office Director, ICE; Adrian P. Macias, El Paso
    20   Field Director, ICE; Frances M. Jackson, El Paso
         Assistant Field Office Director, ICE; Kirstjen
    21   Nielsen, Secretary of DHS; Jefferson Beauregard
         Sessions III, Attorney General of the United
    22   States; L. Francis Cissna, Director of USCIS;
         Kevin K. McAleenan, Acting Commissioner of
    23   CBP; Pete Flores, San Diego Field Director,
         CBP; Hector A. Mancha Jr., El Paso Field
    24   Director, CBP; Alex Azar, Secretary of the
         Department of Health and Human Services;
    25   Scott Lloyd, Director of the Office of Refugee
         Resettlement,
    26

    27
                                Respondents-Defendants.

    28


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     1   1.       I, Leah Chavla, make the following declaration based on my personal
     2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
     3   that the following is true and correct:
     4   2.       I am a lawyer and a Policy Advisor with the Migrant Rights and Justice
     5   program of the Women’s Refugee Commission.
     6   3.       I recently counseled reunited families at the South Texas Family Residential
     7   Center (“Dilley”) in Dilly, Texas.
     8   4.       Counseling these families about their rights is one of the most challenging
     9   tasks I have undertaken as an attorney.
    10   5.       The families I met with arrived in Dilley without paperwork. They are
    11   disoriented and overwhelmed from a rapid reunification with a child they have not
    12   seen for months and an equally rapid transfer. They do not even know what stage
    13   their cases are at.
    14   6.       For example, many families had not had credible fear interviews, and
    15   believed that they were waiting to receive an interview even though they were
    16   detained for over a month. One mother I spoke with said she was asked to sign a
    17   document she could not read. She could not remember everything that was
    18   explained to her about the document, only that she refused in that moment to be
    19   deported without being reunified with her son. However, I do not have the ability to
    20   confirm this with DHS or to quickly get a copy of the paperwork that she was
    21   given.
    22   7.       It is necessary to spend hours with families to determine even what stage
    23   their cases are at. Because of the family’s trauma, it is difficult to get even this
    24   basic information from them.
    25   8.       For example, in one case I met with a mother and her eleven year old son.
    26   The boy would barely speak through the entire interview, only sometimes slightly
    27   nodding or shaking his head to answer simple - yes or no - questions. He only
    28

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    1   stared forward with an intent expression that looked like he was concentrating so as
    2   to not cry. His mother repeatedly told him to speak to us, but he could not speak.
    3   9.      The children I spoke to were difficult to counsel because they were still
    4   processing the separation and reunification with their mothers. The interviews were
    5   very emotional.
    6   10.     Communication between children and parents during their separation was
    7   difficult and not conducive to anything more than simple expressions of care and
    8   loss.
    9   11.     One mother explained that another mother at the facility where she was held
   10   had been put in touch with a child who was not hers when she called. The mother
   11   kept saying to the child that he did not sound like her son until she realized she was,
   12   in fact, talking to a different child. After hearing this story, the mother I spoke with
   13   said that on the two occasions she spoke with her child during their two-months’
   14   separation, she first asked for him to tell her his middle name and his siblings’
   15   names to be sure she was speaking with her child.
   16   12.     Some parents reported only having spoken to their child only once. ORR
   17   facilities do not accept collect calls, the time period for any call is limited, and calls
   18   are expensive.
   19   13.     Counseling these families is a very time consuming process that must
   20   account for delays as interviews end because of the family’s trauma, or because the
   21   lawyer needs to call and request information from other sources.
   22   14.     I declare under penalty of perjury under the laws of the United States of
   23   America that the foregoing is true and correct, based on my personal knowledge.
   24
   25
                                                              _____________________
   26                                                         LEAH CHAVLA

   27
   28

                                                                       Exhibit 54, Page 6
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                    Exhibit 55




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 1         I, Laura Rivera, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
 4   the following is true and correct:
 5   1.     I am a Staff Attorney at the Southern Poverty Law Center’s Immigrant Justice
 6
     Project (“SPLC”). I am an active member of the State Bar of Georgia.
 7
 8   2.    My office represents several fathers who were transferred from Folkston
 9
     Processing Center in Folkston, Georgia, to Port Isabel Detention Center (“PIDC”) in
10
     Los Fresnos, Texas, to be reunited with their children.
11
12   3.    On Tuesday, 7/17/18, and Thursday, 7/19/18, I called PIDC’s main number
13
     (956-547-1700). I was prompted to press “6.” I spoke with an operator in the control
14
15   center. Each time, I requested instructions for scheduling a legal phone call with a
16   client. Each time, the response was that PIDC does not have a process to schedule
17
     legal phone calls. Instead, the operator informed me, the control center operator on
18
19   duty would take my name and phone number and have a guard pass it along to the
20
     detainee. Then the detained person would have to call me from any of the phones
21
     inside the housing units, which are all monitored and/or recorded. The operator said
22
23   the only alternative for a confidential conversation is an in-person visit.
24
     4.    At least two of our clients have told us they cannot place phone calls to us from
25
26   the detention center. On Tuesday, 7/17/18, SPLC got a call from client and class
27   member A.G.F. He said that of the dozen or so men in his housing unit that had been
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 1   moved from Folkston to PIDC, he was the only one who was able to place calls. He
 2
     said many had tried to place calls using their own Personal Identification Numbers
 3
 4   (“PINs”), but did not succeed. Mr. F. passed the phone to another client and class
 5   member, J.C.A.A., who told me that he had been unable to call me because of the
 6
     restrictions on phone calls in the facility. On Thursday, 7/19/18, SIFI received a call
 7
 8   from client and class member A.F. He told SIFI that he had placed the call by using
 9
     another person’s PIN, because he was unable to place calls using his own.
10
     5.    On Thursday, 7/19/18, my colleague Gracie Willis attempted to speak with an
11
12   ICE officer regarding a client and class member, J.P.E., concerning whether he had a
13
     final removal order. She dialed the main facility number (956-547-1700) and pressed
14
15   the option “3” for lawyers, and “6” for inquiring about a detainee. After several
16   attempts, she was not able to connect with anyone. She then dialed the control center
17
     number (956-547-1765). The operator connected her to the extension 1800, where
18
19   there was no option to leave a voicemail. She called the control center again, and the
20
     operator connected her to the extension for Mr. P.E.’s deportation officer, Officer
21
     Robert Cantú. She left a message with Mr. P.E.’s name, A-number, her name, and a
22
23   call-back number, along with a request that if a G28 was not immediately available to
24
     the DO, she would send one upon request. She has yet to receive a return call. Mr.
25
26   P.E. was released with no notice to Ms. Willis.
27
28


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 1   6.    On Thursday, 7/19/18, Ms. Willis requested that another attorney, Jodi
 2
     Goodwin, near PIDC, meet with client and class member J.V.S. to collect paperwork
 3
 4   necessary for an emergency filing with the immigration court in Stewart Detention
 5   Center. Ms. Goodwin was told that he was in processing to be released and that he
 6
     could not be brought to the lawyer’s area. Ms. Goodwin returned on Friday, 7/20/18,
 7
 8   and attempted to meet with Mr. V.S. again. She was told he would not be released,
 9
     but was being processed to be moved to Karnes County Residential Center with his
10
     child, and that he could not be brought to the lawyer’s area. On Monday 7/23/18, Ms.
11
12   Willis received a reply email from the ICE Office of Chief Counsel in San Antonio
13
     indicating that Mr. V.S. had been released on Saturday 7/21/18 without notice to Ms.
14
15   Willis.
16   7.    On Thursday, 7/19/18, I contacted the ICE Field Office in San Antonio to report
17
     the problem detainees had placing phone calls from inside PIDC. The officer told me
18
19   there is no way that only some of the detainees were having trouble with their PINs –
20
     outgoing calls were either disabled or not, but it would apply to all detainees. I then
21
     spoke with a guard in a housing unit at PIDC, who told me PIDC was having some
22
23   problems with outgoing calls, and they had sent for someone to address the issue.
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                    Exhibit 57




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    10                      SOUTHERN DISTRICT OF CALIFORNIA
    11

    12
         Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
                                                            MDD
    13                         Petitioners-Plaintiffs,
         v.
    14                                                      Date Filed: June 25, 2018
         U.S. Immigration and Customs Enforcement
    15   (“ICE”); U.S. Department of Homeland Security
         (“DHS”); U.S. Customs and Border Protection
    16   (“CBP”); U.S. Citizenship and Immigration          DECLARATION OF MANOJ
         Services (“USCIS”); U.S. Department of Health      GOVINDAIAH
    17   and Human Services (“HHS”); Office of
         Refugee Resettlement (“ORR”); Thomas
    18   Homan, Acting Director of ICE; Greg                Class Action
         Archambeault, San Diego Field Office Director,
    19   ICE; Joseph Greene, San Diego Assistant Field
         Office Director, ICE; Adrian P. Macias, El Paso    NO HEARING DATE
    20   Field Director, ICE; Frances M. Jackson, El Paso
         Assistant Field Office Director, ICE; Kirstjen
    21   Nielsen, Secretary of DHS; Jefferson Beauregard
         Sessions III, Attorney General of the United
    22   States; L. Francis Cissna, Director of USCIS;
         Kevin K. McAleenan, Acting Commissioner of
    23   CBP; Pete Flores, San Diego Field Director,
         CBP; Hector A. Mancha Jr., El Paso Field
    24   Director, CBP; Alex Azar, Secretary of the
         Department of Health and Human Services;
    25   Scott Lloyd, Director of the Office of Refugee
         Resettlement,
    26

    27
                                Respondents-Defendants.

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                                                                  Exhibit 57, Page110
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                                                           Exhibit 57, Page111
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     1   1.     I, Manoj Govindaiah, make the following declaration based on my personal
     2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
     3   that the following is true and correct:
     4   2.     I am an attorney and the Director of Family Detention Services at RAICES.
     5   I oversee a staff of approximately 10 employees and supervise all of RAICES’
     6   immigrant family detention work. RAICES runs the Karnes Pro Bono Project, a
     7   nationwide pro bono project that provides legal services to families detained in ICE
     8   custody at the Karnes County Residential Center (“Karnes detention center” or
     9   “Karnes”), in Karnes City, Texas. We represent approximately 90% of the families
    10   at Karnes.
    11   3.     Since the Karnes detention center opened in August 2014, it has exclusively
    12   held mothers and children, most of whom had been recently apprehended and had
    13   never been separated. That changed on or about July 15, 2018, when families who
    14   had been separated and were now being reunified pursuant to the Ms. L injunction
    15   began arriving at the Karnes detention center. These families included mothers
    16   reunified with their children, as well as fathers reunified with their children. On or
    17   about July 17, all of the mothers and their children were transferred to the family
    18   detention center in Dilley, Texas. As of yesterday, we are aware of approximately
    19   55 families (fathers reunified with their children) held at Karnes.
    20   4.     We received no notice from ICE that these reunited families had arrived in
    21   the facility. We only knew about their arrival because of our presence in the
    22   facility.
    23   5.     We are now anticipating the arrival of hundreds of reunited families at
    24   Karnes. Beyond this general sense, we have received no specific information about
    25   who will arrive, how many people, when, or the procedural posture of the parents’
    26   or children’s cases.
    27   6.     I want to be clear: We at RAICES are ready to work around the clock to
    28   represent these families, and can depend on the commitment of pro bono support
                                                                                      18cv0428
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     1   from across the United States. We have recruited and trained large numbers of pro
     2   bono attorneys who are standing by and awaiting our word as to their involvement.
     3   However, no matter how many competent or experienced lawyers we have, without
     4   sufficient time it is simply impossible for these families to get the advice and
     5   counsel they need, given the space constraints in the detention facility and the
     6   unique and complex needs of this population.
     7   7.     In the past week, we have better learned the needs of reunited families and
     8   the effect that the trauma of these separations has on a lawyer’s ability to efficiently
     9   and accurately advise families to ensure that they have accurately understood their
    10   rights under the injunction.
    11   8.     Based on our recent experience, I am concerned that not even seven days will
    12   be sufficient to meet with and advise the hundreds of detained families that we are
    13   expecting to arrive at Karnes.
    14   9.     When we first learned that some subset of reunified families would
    15   potentially be sent to Karnes, while other reunified families would be reunified and
    16   released, we believed that most of these families sent to Karnes would have final
    17   orders of expedited removal – having failed a credible fear interview and a
    18   subsequent IJ review of that decision. We therefore believed that for most parents
    19   the principal remaining legal option, should they want to challenge removal, would
    20   be to request reconsideration of their credible fear denial (i.e., the opportunity for a
    21   new interview). Moreover, we did not know the extent to which parents had made
    22   unknowing or involuntary waivers of their rights to immigration relief, or their
    23   children’s rights to relief.
    24   10.    The past week has demonstrated a very different picture. First, many of the
    25   families who are being moved to Karnes are not at a final stage of the CFI process.
    26   And second, many have not made a knowing, intelligent, and voluntary waiver of
    27   their right to seek asylum.
    28

                                                                     Exhibit 57, Page113
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     1   11.   Of full intakes of 18 reunified families done on Friday July 20, 2018, 10 had
     2   never even begun the CFI process, and 4 had not yet completed the IJ review
     3   process, because they believed they had to waive their right to review in order to
     4   speed up reunification with their children. Only 3 class members were actually at
     5   the request for reconsideration stage. The final class member had already been
     6   placed in removal proceedings, outside of the expedited removal process.
     7   12.   This immediately changed the nature of the counseling that the population
     8   would require and the time such counseling would reasonably be expected to take.
     9   13.   First, the relative complexity of the parents’ immigration cases -- coupled
    10   with their lack of paperwork and knowledge about their cases -- creates significant
    11   delays in the counseling process.
    12   14.   The fact that parents fall in different stages of expedited removal proceedings
    13   (or even 240 proceedings, as in one case), makes it more difficult to advise parents
    14   to their rights. It creates a greater set of options that the parent must understand. At
    15   the most basic level, both the parent and lawyer need to know what stage of the
    16   process family members are in. Our experience over the past week has
    17   demonstrated that most parents do not have a clear understanding of the procedural
    18   history of their cases and often do not even know if they received a credible fear
    19   hearing, or an Immigration Judge hearing.
    20   15.   Compounding the confusion, many parents do not have any paperwork from
    21   either their or their children’s proceedings, and if they do, it is incomplete or
    22   outdated. Parents have said that while they did have the paperwork at some point in
    23   the past, they either lost it or it was taken from them in the course of transfers.
    24   Many children do not have any paperwork or records from their time separated
    25   from their parents.
    26   16.   The confusion and lack of records creates significant delays in counseling,
    27   because lawyers cannot rely on a family’s recollection about their proceedings, but
    28   instead must perform independent investigation.

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     1   17.     This is compounded by the fact that most of the parents who have arrived at
     2   Karnes for reunification have not met with lawyers before. Indeed, because many
     3   have been transferred multiple times between detention centers, it would have been
     4   difficult for a lawyer to meet with them, and then keep in communication with
     5   them.
     6   18.     For example, a RAICES staff member asked one father – who did not have
     7   any paperwork with him when he was reunified – if he had seen an immigration
     8   judge or asylum officer, and he said yes. Later, when our staff was able to get a
     9   copy of his immigration records, we learned that he had not seen an immigration
    10   judge or an asylum officer, but had been criminally prosecuted for illegal entry, and
    11   was confusing his criminal case and his immigration case. Without our having
    12   found his immigration files, no lawyer could have accurately advised him as to his
    13   rights whether under immigration law or this court’s injunction.
    14   19.     Another father told us he had his credible fear interview in Spanish, even
    15   though he speaks Mam, but we later confirmed that he had actually already
    16   concluded the credible fear process and the event he believed was an interview was
    17   in fact a master calendar hearing in removal proceedings.
    18   20.     Our investigation of a case’s procedural history typically requires a detailed
    19   interview of the individual, and contacting both ICE and USCIS. Because ICE and
    20   USCIS offices at Karnes are only open between 8 A.M. and 3 P.M., this work can
    21   only be done on weekdays, and not weekends. And because interviews must be
    22   interrupted and then begun again after receiving relevant and accurate information,
    23   the time necessary to counsel families expands.
    24   21.     Second, because parents and children have separate proceedings, this creates
    25   a need for additional time. Lawyers for the family must consult with the child’s
    26   lawyer or prior child advocate, who may be in another part of the United States.
    27   After finding the child’s lawyer or advocate and consulting with them, the lawyers
    28   must then explain the child’s choices to the parent. Because of the varying

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     1   proceedings and procedural postures, our staff at Karnes also needs to speak with
     2   the children in addition to their parents, to fully uncover the child’s wishes.
     3   22.   Multiple parents have told me that they were only able to speak to their
     4   children once on the phone before being reunited transferred to Karnes. Even
     5   where there was a second or even third call over a two month period of separation,
     6   they were short – sometimes less than five minutes in length – and parents spent
     7   them comforting their children. These calls were recorded, and so some parents did
     8   not even feel comfortable speaking openly with their child.
     9   23.   Third, the trauma of separation, and the emotions that these families are
    10   experiencing immediately upon reunification, creates an atmosphere where legal
    11   advisals require even more time.
    12   24.   I want to provide a snapshot of what providing legal advice looks like after
    13   families have been reunified in detention, drawn from my experiences on July 22
    14   when I personally counseled families who been reunified and detained at the
    15   Karnes detention center for at least two days.
    16   25.   The first thing I noticed was that children did not want to leave their father’s
    17   side. Typically when families enter the visitation room, the children go to one side
    18   of the open space where there are toys, books, and a television, while we meet with
    19   the parent in one of the private visitation rooms. The ability to interview the parent
    20   by themselves is crucial for our provision of legal services since parents are
    21   typically unlikely to fully disclose abuse, trauma or persecution that they have
    22   experienced in front of their children. Without even knowing if they have this
    23   information, it is impossible to even advise them as to whether they can raise a
    24   credible fear claim, if they haven’t, or if they should exercise their right to
    25   challenge a credible fear denial.
    26   26.   On July 22, however, nearly all the children refused to play with the toys or
    27   watch television. They wanted to stay with their fathers at all times. Several young
    28   boys—between ages 6-8—sat on their father’s laps at various points of our

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     1   meetings despite them having their own seat in the visitation room. Another boy, I
     2   believe age 13, asked numerous questions of me, many focused on whether he
     3   would be separated from his dad.
     4   27.      The relationship between parents and their children has clearly been
     5   complicated by separation. Parents have reported to us that their children look
     6   different than before. They have said that their children have grown, are thinner,
     7   don't act the same. I have seen children that have appeared angry at their fathers,
     8   but simultaneously relieved to be with them. This means that we are attempting to
     9   talk to a family at the same time they are relearning how to communicate with each
    10   other.
    11   28.      The experience of separation has also inculcated families with skepticism and
    12   distrust to a level that far exceeds any that I have previously experienced with our
    13   clients. Many fathers needed extended coaxing in order to believe that I was not
    14   there to take their children away from them. One father asked me multiple times to
    15   prove who I was (when I introduced myself as a lawyer from RAICES), and
    16   showing him my bar card, my business card, and my driver’s license was
    17   insufficient. It was only when I went through our database and listed the names of
    18   all the RAICES staff and volunteers that I believe he had previously met with that
    19   he appeared to believe I was who I said I was. At the conclusion of our meeting,
    20   when I asked him why he was distrustful of me at first, he said something along the
    21   lines of since he and his son entered this country, they have been lied to, that he
    22   doesn’t know who is government and who isn’t, and now that he has his son back,
    23   he will not let his son go anywhere without him.
    24   29.      Trauma has made it difficult for parents to even comprehend or focus on
    25   what lawyers advise. One father could not comprehend anything I was saying.
    26   Any statement I made would elicit a response of “but my son and I can stay
    27   together, right?” When we discussed his legal options, his repeated response was
    28   “but as long as I’m with my son, I’ll be ok. I’ll be with my son that whole time,

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     1   right?” The meeting ended without any meaningful information being developed
     2   from the client or advice being provided because the father could not move past his
     3   fear of re-separation.
     4   30.   Meetings with at least two fathers ended unproductively because they were
     5   too emotional to continue. In one case, we had been discussing the complicated
     6   procedural posture of the father’s and his son’s cases, that he had received a
     7   negative expedited removal order and was facing deportation, while his son could
     8   still apply for asylum. When he asked for clarification of what that meant, I
     9   explained that it could result in his son remaining in the United States without him.
    10   We could not complete our meeting because his crying prevented us from
    11   effectively discussing his legal case. We of course scheduled another meeting, but
    12   without a second visit, I cannot say that these families understand their choices.
    13   31.   The trauma these families have experienced as a result of the separation
    14   cannot be underestimated. Typically, we can proceed through an initial meeting
    15   with a detained family relatively quickly; this process includes asking basic intake
    16   questions, assessing their legal options, and educating them about the credible fear
    17   process.
    18   32.   With these families, the complexity of the case and the trauma have
    19   combined to create a very slow process. Each dad appears to be in a unique
    20   procedural posture, and each child is in a different procedural posture. Many of the
    21   parents have indicated that they may have initially agreed to deportation, but only
    22   because they incorrectly believed it was the fastest way to get their children back.
    23   Others had all but given up hope of fighting their cases, until they had an
    24   opportunity to be reunited with their children, and now want to pursue their cases.
    25   33.   But these decisions are taking time: families are just reacquainting
    26   themselves with their children after weeks or months of separation, and – on top of
    27   the confusion and lack of information about the legal system – are having difficulty
    28   focusing on the decisions they have to make.

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     1   34.   These discussions cannot occur over a single meeting in many instances, and
     2   decisions are taking more than a meeting, and are stretching over multiple days.
     3   35.   Space constraints make this slow process even slower. In the visitation area
     4   at Karnes, there is an open visitation room with several tables and chairs where we
     5   can meet with clients. However meeting with clients in the open area means that no
     6   conversations are confidential, since other detainees and GEO staff are regularly
     7   present and nearby in the open area. ICE staff may also be present in the visitation
     8   area and may overhear conversations.
     9   36.   Within the larger visitation area, there are five confidential meeting rooms,
    10   and only 4 have telephones. Karnes has placed an occupancy restriction on the
    11   private rooms--three rooms are limited to four people (so that means parent and
    12   child, plus an attorney, and you are already at 3. If there is a team of attorneys, or
    13   law students or in person interpreters helping, that may not be permissible). Two of
    14   the confidential meeting rooms allow for up to 7 people.
    15   37.   Generally, the maximum number of pro bono attorneys and volunteers and
    16   RAICES staff that can be accommodated in the visitation area (including individual
    17   visitation rooms and the group area) is around 17. Any more than that and the lack
    18   of meeting space, especially confidential meeting space, becomes very apparent.
    19   Without sufficient phones or meeting space, it is difficult to use pro bono attorneys
    20   and volunteers in an efficient manner.
    21   38.   Language difficulties compound the space issues. Although our staff is
    22   bilingual in English and Spanish, some Ms. L class members speak indigenous
    23   languages. We are currently working with Ms. L class members who speak Mam,
    24   Ixil, Lxil, and Kiche. We therefore need to arrange for interpreters in these
    25   languages, often by phone. Given that there are only 4 confidential meeting rooms
    26   with phones, if we are working with telephonic interpreters often we have no
    27   confidential meeting space to meet with any of our remaining clients.
    28

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     1   39.   Even if the entirety of Karnes is used only for Ms. L class members, there
     2   will be space issues. This will come, in part, because the counseling of the
     3   hundreds of families will have to happen in parallel with whatever representation
     4   occurs of parents who choose to reinstate their rights to challenge removal.
     5   40.   For example, we have seen parents who have waived their right to a credible
     6   fear hearing or an IJ review of a negative credible fear determination only to want
     7   to reinstate those rights after being reunified with their child and learning for the
     8   first time that they can remain reunified while they seek to stay in the United States.
     9   In these cases, after we determine that the parent wishes to continue to litigate their
    10   immigration case, and we alert the asylum office (as to a credible fear claim) or the
    11   immigration court, those families may remain detained at Karnes.
    12   41.   Once a request for a CFI or IJ hearing is made, an individual’s removal is
    13   stayed until the process ends. If the person remains detained through the stay, then
    14   lawyers will work to represent them in their credible fear proceedings and IJ
    15   reviews, as we do with all of other detained family clients outside of the Ms. L
    16   injunction. Because of the trauma separated families have experienced,
    17   representation is more important – without significant time developing their
    18   testimony and overcoming the emotions resulting from separation, a fair hearing
    19   will be extremely difficult. Representation through this process requires drafting
    20   detailed declarations with the class member and potentially their family, gathering
    21   country conditions documents, and often putting together written arguments.
    22   42.   These must be done in in-person meetings in the facility itself, and they must
    23   be done quickly. For example, a credible fear hearing is typically scheduled within
    24   3 or 4 days of the request being made. And pursuant to 8 U.S.C. §
    25   1225(b)(1)(B)(iii)(III), IJ review must take place within 7 days of the detainee's
    26   receipt of a negative credible fear finding.
    27   43.   The lawyers who are working to represent families in their actual
    28   immigration proceedings will be “competing” for space with the lawyers who are

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     1   doing the screening and counseling the reunified families to determine what their
     2   options are under the Ms. L injunction.
     3   44.       These problems are compounded by the fact that we do not get notice of
     4   when a reunified family arrives at Karnes, and that it usually takes more than a day
     5   between a family’s arrival and when we hear about them and can arrange for a legal
     6   consultation. Part of the delay is attributable to the fact that when families arrive at
     7   Karnes, there are put through an institutional intake process that involves medical
     8   screenings and orientations that can take several hours. Thus, if families arrive on a
     9   Thursday morning it will not be until sometime on Friday that we will even be able
    10   to speak to them.
    11   45.       There are many factors involved in projecting how long it will take to advise
    12   the hundreds of reunified families who are arriving at Karnes. Some of these are
    13   legal: The relatively complex procedural histories of parents, the separate
    14   proceedings of the children, the lack of documentation and confusion about where
    15   parents are in the expedited removal process, and the recurring pattern that parents
    16   have not pursued their rights to relief in the belief that to do so would delay
    17   reunification. Some of the factors are personal to the families who have gone
    18   through separation and reunification: the need for parents and children to
    19   reacclimatize to their relationships after months spent apart, and the sequelae of the
    20   trauma, which interferes with the counseling process. Others are specific to the
    21   space that lawyers and advocates have to work with in a detention center. When
    22   taken together, it is unlikely that even a period of seven days will allow for
    23   adequate counseling to ensure that the Court’s injunction has been implemented as
    24   intended and that families have made choices with a proper understanding of their
    25   rights.
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                                                                      Exhibit 57, Page121
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